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 1   BARRY J. PORTMAN
     Federal Public Defender
 2   JOHN PAUL REICHMUTH
     JOYCE LEAVITT
 3   Assistant Federal Public Defenders
     555 12th Street, Suite 650
 4   Oakland, CA 94607-3627

 5   Counsel for Defendant FRAZIER

 6

 7

 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                                )
12                                                            )   No. CR 05-00648 MJJ [WDB]
                                  Plaintiff,                  )
13
                                                              )   STIPULATION AND [PROPOSED]
14            v.                                              )   ORDER MODIFYING CONDITIONS
                                                              )   OF RELEASE
15   MAURICE FRAZIER,                                         )
                                                              )
16                                                            )
17                              Defendant.                    )

18
          IT IS HEREBY STIPULATED, by and between the parties to this action, that the conditions
19

20   of release for Maurice Frazier may be modified to allow him to leave Cornell Corrections, Inc., in

21   Oakland, California, where he is currently residing, at the direction of Pretrial Services so that he
22   may be present when his girlfriend gives birth to their child and bond with the baby while he or
23
     she is still in the hospital. The parties further stipulate that Mr. Frazier’s travel conditions may be
24
     extended to include Contra Costa County so that he can travel to the hospital where his girlfriend
25

26   is giving birth in Antioch, California which is in Contra Costa County. Currently, his travel is


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 1   restricted to the counties of Alameda and San Francisco. All other conditions of release would
 2
     remain the same.
 3
                                                /S/
 4   DATED: 12/29/05                            _______________________________
                                                JOYCE LEAVITT
 5
                                                Assistant Federal Public Defender
 6
                                                /S/
 7 DATED: 12/29/05                             _________________________________
                                               JAMES KELLER
 8
                                               Assistant United States Attorney
 9
                                               /S/
10 DATED: 12/29/05                             _________________________________
11                                             SILVIO LUGO
                                               Pretrial Services Officer
12
   I hereby attest that I have on file all holograph signatures for any signatures indicated by a
13 “conformed” signature (/S/) within this efiled document.

14

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                                                             Page33ofof44




 1 BARRY J. PORTMAN
   Federal Public Defender
 2
   JOHN PAUL REICHMUTH
 3 JOYCE LEAVITT
   Assistant Federal Public Defenders
 4 555 12th Street, Suite 650
   Oakland, CA 94607-3627
 5

 6 Counsel for Defendant FRAZIER

 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
10                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                               )
12                                                           )   No. CR 05-00648 MJJ [WDB]
13                               Plaintiff,                  )
                                                             )   [PROPOSED] ORDER MODIFYING
14             v.                                            )   CONDITIONS OF RELEASE
                                                             )
15 MAURICE FRAZIER,                                          )
                                                             )
16
                                                             )
17                             Defendant.                    )

18
           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the conditions of release for
19

20 Maurice Frazier may be modified to allow him to leave Cornell Corrections, Inc., in Oakland,
21 California, where he is currently residing, at the direction of Pretrial Services so that he may be
22
     present when his girlfriend gives birth to their child and bond with the baby while he or she is still
23
     in the hospital.
24
           IT IS FURTHER ORDERED that Mr. Frazier’s travel may be extended to include Contra
25

26 Costa County so that he can travel to the hospital where his girlfriend is giving birth in Antioch,


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 1 California, which is in Contra Costa County. Currently, his travel is restricted to the counties of

 2
     Alameda and San Francisco. All other conditions of release shall remain the same.
 3
          SO ORDERED.
 4
     DATED: December 30, 2005                 /s/ Nandor J. Vadas
                                              _____________________________________
 5
                                              NANDOR VADAS
 6                                            United States Magistrate Judge

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